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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                               )
MICHAEL DARDASHTIAN, individually and on       )
behalf of COOPER SQUARE VENTURES, LLC          )
NDAP, LLC and CHANNEL REPLY, LLC               )
                                               )
                   Plaintiffs,                 )
                                               )
      -against-                                )
                                               )
DAVID GITMAN, JEREMY FALK, SUMMIT              )
ROCK HOLDINGS, LLC, ACCEL                      )
COMMERCE, LLC, DALVA VENTURES, LLC,            )
KONSTANTYN BAGAIEV, OLESKSII                   )
GLUKHAREV and CHANNELREPLY, INC.               )
                                               )
                                               )
                   Defendants.                 ) Case No. 17 CV 4327 (LLS) (RWL)
                                               )
                                               )
DAVID GITMAN, individually, and on behalf of   )
COOPER SQUARE VENTURES, LLC, and               )
NDAP, LLC                                      )
          Counterclaim Plaintiffs,             )
                                               )
      -against-                                )
                                               )
MICHAEL DARDASHTIAN                            )
                                               )
             Counterclaim Defendant.           )
                                               )


     [PROPOSED] ORDER GRANTING MOTION TO WITHDRAW AS COUNSEL

      IT IS HEREBY ORDERED that the motion filed by Brian S. Cousin, Esq. and Dentons

US LLP to withdraw as counsel for Defendants David Gitman, Accel Commerce, LLC, Dalva
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Ventures, LLC, and ChannelReply, Inc., and Counterclaim plaintiffs David Gitman, individually,

and on behalf of Cooper Square Ventures, LLC and NDAP, LLC (together, “Defendants-

Counterclaimants”) is granted.

       IT IS FURTHER ORDERED that Defendants-Counterclaimants shall have thirty (30)

days to retain new counsel.

Dated: _______________, 2019



                                                         _____________________________
                                                         United States Magistrate Judge
